
41 So.3d 286 (2010)
Laprincycsessazatta BESS, Appellant,
v.
MIAMI-DADE COUNTY, Appellee.
No. 1D09-4834.
District Court of Appeal of Florida, First District.
June 21, 2010.
Rehearing Denied August 2, 2010.
LaPrincycsessAzatta Bess, pro se, for Appellant.
No appearance for Appellee.
PER CURIAM.
Upon review of Appellant's untimely response to this court's April 14, 2010, order to show cause, which warned of sanctions including dismissal, we DISMISS this appeal. See Fla. R.App. P. 9.410.
WOLF, BENTON, and PADOVANO, JJ., concur.
